Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 1 of 33. PageID #: 341
              Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 2 of 33. PageID #: 342


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      The Court's moratorium on all filings includes a moratorium on the filing of answers or motions runder Rule12.
Defendants will not answer or move under Rule12 unless so ordered by the Court. The failure to file an answer or motion
under Rule12 will not be grounds for a default judgement.

Date: 2/21/2019
                                                                                                    Signature of the attorney or unrepresented party

                   Cardinal Health, Inc.                                                                               Emily Pistilli
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                               Williams & Conolly LLP
                                                                                                               725 Twelfth Street, NW
                                                                                                               Washington, DC 20005
                                                                                                                            Address

                                                                                                                    epistilli@wc.com
                                                                                                                        E-mail Address

                                                                                                                     (202) 434-5652
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 3 of 33. PageID #: 343
              Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 4 of 33. PageID #: 344


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )     Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

                                                                                                                /s/ Hayden Coleman
Date: 02/22/2019
                                                                                                    Signature of the attorney or unrepresented party

                    Purdue Pharma LP                                                                                Hayden Coleman
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                                Dechert LLP
                                                                                                    Three Bryant Park, 1093 Avenue of the
                                                                                                                  Americas
                                                                                                         New York, NY 10036-6797
                                                                                                                            Address

                                                                                                         hayden.coleman@dechert.com;
                                                                                                            sam.rosen@dechert.com
                                                                                                                        E-mail Address

                                                                                                                      212-698-3500
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

        If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 5 of 33. PageID #: 345


AO 399 (01/09) Waiver of the Service of Summons




                                                                      for the
                                                             Northern District of Ohio

       Town of Tewksbury, Massachusetts                               )
                           Plaintiff
                                                                      )
                               v.
                                                                      )    Civil Action No. 1:19-op-45077
      Amerisourcebergen Drug Corp., et al.                            )
                          Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
           (Name of the plaintiff's attorney or unrepresented plaintiff)


                   Purdue Pharma LP                                                                           Hayden Coleman
                                                                                                            Dechert LLP
                                                                                                Three Bryant Park, 1093 Avenue of the
                                                                                                   hayden.coleman@dechert.com;
                                                                                                              Americas
                                                                                                      sam.rosen@dechert.com
                                                                                                           212-698-3500
                                                                                                     New York,  NY 10036-6797
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 6 of 33. PageID #: 346


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )     Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

                                                                                                                  /s/ Hayden A. Coleman
Date: 02/22/2019
                                                                                                    Signature of the attorney or unrepresented party

                  Purdue Pharma, Inc.                                                                             Hayden A. Colemen
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                                Dechert LLP
                                                                                                    Three Bryant Park, 1093 Avenue of the
                                                                                                                  Americas
                                                                                                         New York, NY 10036-6797
                                                                                                                            Address

                                                                                                         hayden.coleman@dechert.com;
                                                                                                            sam.rosen@dechert.com
                                                                                                                        E-mail Address

                                                                                                                      212-698-3500
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

        If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 7 of 33. PageID #: 347


AO 399 (01/09) Waiver of the Service of Summons




                                                                      for the
                                                             Northern District of Ohio

       Town of Tewksbury, Massachusetts                               )
                           Plaintiff
                                                                      )
                               v.
                                                                      )    Civil Action No. 1:19-op-45077
      Amerisourcebergen Drug Corp., et al.                            )
                          Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
           (Name of the plaintiff's attorney or unrepresented plaintiff)


                  Purdue Pharma, Inc.                                                                        Hayden A. Colemen
                                                                                                            Dechert LLP
                                                                                                Three Bryant Park, 1093 Avenue of the
                                                                                                   hayden.coleman@dechert.com;
                                                                                                              Americas
                                                                                                      sam.rosen@dechert.com
                                                                                                           212-698-3500
                                                                                                     New York,  NY 10036-6797
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 8 of 33. PageID #: 348


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )     Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date: 02/22/2019                                                                                                 /s/ Hayden A. Coleman
                                                                                                    Signature of the attorney or unrepresented party

       The Purdue Frederick Company, Inc.                                                                         Hayden A. Coleman
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                                Dechert, LLP
                                                                                                    Three Bryant Park, 1093 Avenue of the
                                                                                                                  Americas
                                                                                                         New York, NY 10036-6797
                                                                                                                            Address

                                                                                                         Hayden.coleman@dechert.com;
                                                                                                            sam.rosen@dechert.com
                                                                                                                        E-mail Address

                                                                                                                     (212) 698-3500
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

        If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 9 of 33. PageID #: 349


AO 399 (01/09) Waiver of the Service of Summons




                                                                      for the
                                                             Northern District of Ohio

       Town of Tewksbury, Massachusetts                               )
                           Plaintiff
                                                                      )
                               v.
                                                                      )    Civil Action No. 1:19-op-45077
      Amerisourcebergen Drug Corp., et al.                            )
                          Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
           (Name of the plaintiff's attorney or unrepresented plaintiff)


      The Purdue Frederick Company, Inc.                                                                     Hayden A. Coleman
                                                                                                            Dechert, LLP
                                                                                                Three Bryant Park, 1093 Avenue of the
                                                                                                   Hayden.coleman@dechert.com;
                                                                                                              Americas
                                                                                                      sam.rosen@dechert.com
                                                                                                           (212)NY
                                                                                                     New York,   698-3500
                                                                                                                    10036-6797
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 10 of 33. PageID #: 350


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       2/21/2019
                                                                                                    Signature of the attorney or unrepresented party

               Watson Laboratories, Inc.                                                                             Evan K. Jacobs
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                          Morgan, Lewis & Bockius, LLP
                                                                                                              1701 Market Street
                                                                                                            Philadelphia, PA 19103
                                                                                                                            Address

                                                                                                         evan.jacobs@morganlewis.com
                                                                                                                        E-mail Address

                                                                                                                     (215) 963-5329
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 11 of 33. PageID #: 351


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       2/21/2019
                                                                                                    Signature of the attorney or unrepresented party

                       Cephalon, Inc.                                                                                Evan K. Jacobs
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                          Morgan, Lewis, & Bockius, LLP
                                                                                                               1701 Market Street
                                                                                                             Philadelphia, PA 19103
                                                                                                                            Address

                                                                                                         evan.jacobs@morganlewis.com
                                                                                                                        E-mail Address

                                                                                                                     (215) 963-5329
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 12 of 33. PageID #: 352


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       2/21/2019
                                                                                                    Signature of the attorney or unrepresented party

          Teva Pharmaceuticals USA, Inc.                                                                             Evan K. Jacobs
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                          Morgan, Lewis & Bockius, LLP
                                                                                                              1701 Market Street
                                                                                                            Philadelphia, PA 29103
                                                                                                                            Address

                                                                                                         evan.jacobs@morganlewis.com
                                                                                                                        E-mail Address

                                                                                                                     (215) 963-5329
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 13 of 33. PageID #: 353


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:        2/21/2019
                                                                                                    Signature of the attorney or unrepresented party

  Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.                                                                     Evan K. Jacobs
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                           Morgan, Lewis & Bockius LLP
                                                                                                               1701 Market Street
                                                                                                             Philadelphia, PA 19103
                                                                                                                            Address

                                                                                                         evan.jacobs@morganlewis.com
                                                                                                                        E-mail Address

                                                                                                                      215-963-5329
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 14 of 33. PageID #: 354


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       2/21/2019
                                                                                                    Signature of the attorney or unrepresented party

                         Actavis LLC                                                                                 Evan K. Jacobs
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                           Morgan, Lewis & Bockius LLP
                                                                                                               1701 Market Street
                                                                                                             Philadelphia, PA 19103
                                                                                                                            Address

                                                                                                         evan.jacobs@morganlewis.com
                                                                                                                        E-mail Address

                                                                                                                      215-963-5329
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 15 of 33. PageID #: 355


AO 399 (0 1/09) Waiver of the Servi ce of Summons



                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                               Northern District of Ohio

         Town of Tewksbury, Massachusetts                               )
                            Plaintiff
                                                                        )
                                V.
                                                                        )      Civil Action No. 1: 19-op-45077
       Amerisourcebergen Drug Corp., et al.                             )
                            Defe ndant                                  )

                                               W AIYER OF THE SERVICE OF SUMMONS
To:                            James C. Peterson
            (Name of the plaintiffs al/orney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form , and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/ 19/19, the date when this request was sent (or 90 days if it was sent outside the United States). Ifl fail to do so, a
default judgement will be entered against me or the entity I represent.




                   Johnson & Johnson
      Printed name of party waiving service of summ ons                                                                      Printed Name

                                                                                                                   O'Melveny & Myers LLP
                                                                                                                   400 South Hope Street
                                                                                                                   Los Angeles, CA 90071
                                                                                                                               Address
                                                                                                     '?~r()
                                                                                                     1caFdelus@omm.com;skemp@omm.com
                                                                                                                           E-mail Address

                                                                                                                        (213) 430-6000
                                                                                                                          Telephone number

                                          Duty to Avoid Unnecessary Expenses of Serving a Summons
        Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fail s to return a signed waiver of service requested by a plaintiff located in th e United
States will be required to pay the expenses of servi ce, unless the defendant shows good cause for the failure .


        "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdi cti on over this matter or over the defendant or the defendant's property.


        If th e waiver is signed and returned, you can still make these and all other defenses and objections, but you cann ot object to the absence of a
summons or of service.


        If you waive service, then you must, w ithin the time specified on the waiver form , serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form , you are allowed more time to respond th an if a summons had been served.
            Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 16 of 33. PageID #: 356


AO 399 (01 /09) Waiver of the Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts
                                                                       )
                           Plaintiff
                                                                       )
                               V.
                                                                       )      Civil Action No. 1: 19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )

                                              WAIVER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiffs attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/ 19/ 19, the date when this request was sent (or 90 days if it was sent outside the United States). IfI fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:
                                                                                                     Sig ature of the attorne;i _or unrepre ented party

            Janssen Pharmaceuticals, Inc.                                                                           ~        l?t D·lj;{CQ
                                                                                                                            cfer Garde
      Printed name ofparty waiving service of summons                                                                      Printed Name

                                                                                                                 O'Melveny & Myers LLP
                                                                                                                 400 South Hope Street
                                                                                                                 Los Angeles, CA 90071
                                                                                                                              Address
                                                                                                    h{c-r,()")
                                                                                                    j oard elu,s@omm.com;skemp@omm.com
                                                                                                                          E-mail Address

                                                                                                                        (213) 430-6000
                                                                                                                         Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
        Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.


        "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.


        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.


        If you waive service, then you must, within the time specified on the waiver form , serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 17 of 33. PageID #: 357


AO 399 (01 /09) Waiver ofd1e Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                              N01ihern District of Ohio

         Town of Tewksbury, Massachusetts
                                                                       )
                           Plaintiff
                                                                       )
                               V.
                                                                       )      Civil Action No. 1: 19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )

                                             W AIYER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiffs attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the veni.Je of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/ 19/19, the date when this request was sent (or 90 days if it was sent outside the United States). Ifl fail to do so, a
default judgement will be entered against me or the entity I represent.


Date:     a{uqa2/ff                                                                                              ~~ ol):1~~~ nted party
                                                                                                     Sig,1atureofaf
 Janssen Pharmaceutica, Inc. n/k/a Janssen                                                                           J@nnifor Card s!~
      Printed name ofparty waiving service of summons                                                                      Printed Name

                                                                                                                 O'Melveny & Myers LLP
  Pharmaceuticals, Inc.                                                                                          400 South Hope Street
                                                                                                                 Los Angeles, CA 90071
                                                                                                                              Address
                                                                                                    6fu1n
                                                                                                   ~_card~lus@omm.com;skemp@omm.com
                                                                                                                          E-mail Address

                                                                                                                       (213) 430-6000
                                                                                                                        Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
        Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.


        "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.


        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.


        If you waive service, then you must, within the time specified on the waiver form , serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form , you are allowed more time to respond than if a summons had been served.
            Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 18 of 33. PageID #: 358


AO 399 (01 /09) Waiver of the Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts
                                                                       )
                           Plaintiff
                                                                       )
                               V.
                                                                       )      Civil Action No. 1: 19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )

                                              WAIVER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiffs attorney or unrepresented plaintifj)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence ofa surnmons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). Ifl fail to do so, a
default judgement will be entered against me or the entity I represent.




 Ortho-McNeil-Janssen Pharmaceuticals, Inc.
      Printed name of party waiving service of summons                                                                     Printed Name

 n/k/a Janssen Pharmaceuticals, Inc.                                                                           O'Melveny & Meyers, LLP
                                                                                                                400 South Hope Street
                                                                                                               Los Angeles, CA 90071
                                                                                                        r_ _                  Address
                                                                                                    -~~(Y')
                                                                                                    Jcardeluo@omm .com ;skemp@omm.com
                                                                                                                          E-mail Address

                                                                                                                      (213) 430-6000
                                                                                                                        Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
        Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure .


        "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.


        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.


        If you waive service, then you must, within the time specified on the waiver form , serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form , you are allowed more time to respond than if a summons had been served.
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 19 of 33. PageID #: 359
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 20 of 33. PageID #: 360


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )     Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       3/13/2019                                                                                             /s/ Sean Morris
                                                                                                    Signature of the attorney or unrepresented party

              Endo Health Solutions Inc.                                                                             Sean Morris
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                       Arnold & Porter Kaye Scholer LLP
                                                                                                      777 South Figueroa Street, Ste. 4400
                                                                                                            Los Angeles, CA 90017
                                                                                                                            Address




                                                                                                               sean.morris@apks.com
                                                                                                                        E-mail Address

                                                                                                                     (213) 243-4000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

        If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 21 of 33. PageID #: 361


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       3/13/2019                                                                                             /s/ Sean Morris
                                                                                                    Signature of the attorney or unrepresented party

              Endo Pharmaceuticals Inc.                                                                              Sean Morris
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                       Arnold & Porter Kaye Scholer LLP
                                                                                                      777 South Figueroa Street, Ste. 4400
                                                                                                            Los Angeles, CA 90017
                                                                                                                            Address

                                                                                                               sean.morris@apks.com
                                                                                                                        E-mail Address

                                                                                                                     (213) 243-4000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 22 of 33. PageID #: 362


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:        3/13/2019                                                                                            /s/ Sean Morris
                                                                                                    Signature of the attorney or unrepresented party

        Par Pharmaceutical Companies, Inc.                                                                             Sean Morris
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                        Arnold & Porter Kaye Scholer LLP
                                                                                                        777 S. Figueroa Street, 44th Floor
                                                                                                            Los Angeles, CA 90017
                                                                                                                            Address

                                                                                                          sean.morris@arnoldporter.com
                                                                                                                        E-mail Address

                                                                                                                      213-243-4000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 23 of 33. PageID #: 363


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       3/13/2019                                                                                            /s/ Sean Morris
                                                                                                    Signature of the attorney or unrepresented party

                Par Pharmaceutical, Inc.                                                                               Sean Morris
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                        Arnold & Porter Kaye Scholer LLP
                                                                                                        777 S. Figueroa Street, 44th Floor
                                                                                                            Los Angeles, CA 90017
                                                                                                                            Address

                                                                                                          sean.morris@arnoldporter.com
                                                                                                                        E-mail Address

                                                                                                                      213-243-4000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 24 of 33. PageID #: 364


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.
                                                                                                              /s/ Timothy W. Knapp
           2/20/2019
Date:
                                                                                                    Signature of the attorney or unrepresented party

Allergan Finance, LLC f/k/a Actavis Inc., f/k/a                                                                    Timothy W. Knapp
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                                  Kirkland & Ellis LLP
 Watson Pharmaceuticals, Inc.                                                                                      300 North LaSalle
                                                                                                                  Chicago, IL 60654
                                                                                                                            Address

                                                                                                         timothy.knapp@kirkland.com;
                                                                                                         michael.lefevour@kirkland.com
                                                                                                                        E-mail Address

                                                                                                                      312-862-2000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 25 of 33. PageID #: 365
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 26 of 33. PageID #: 366
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 27 of 33. PageID #: 367
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 28 of 33. PageID #: 368
             Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 29 of 33. PageID #: 369


AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

         Town of Tewksbury, Massachusetts                              )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45077
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 02/19/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:February 25, 2019                                                                                   /s/ Kathleen L. Matsoukas
                                                                                                    Signature of the attorney or unrepresented party

H. D. Smith, LLC f/k/a H. D. Smith Wholesale Drug Co.                                                         Kathleen L. Matsoukas
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                              Barnes & Thornburg, LLP
                                                                                                              11 South Meridian Street
                                                                                                               Indianapolis, IN 46204
                                                                                                                            Address

                                                                                                         kathleen.matsoukas@btlaw.com
                                                                                                                        E-mail Address

                                                                                                                      317-236-1313
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 30 of 33. PageID #: 370

AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           NorthernDistrict
                                                       __________   Districtofof__________
                                                                                 Ohio

      In re: National Prescription Opioid Litigation                         )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 17-md-2804-DAP
              Rite Aid of Massachusetts, Inc.                                )
                             Defendant                                       )    This document applies to: See attached case list


                                              WAIVER OF THE SERVICE OF SUMMONS

To: James C. Petersen
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.




Date:          03/13/2019
                                                                                            Signature of the attorney or unrepresented party

              Rite Aid of Massachusetts, Inc.                                                             Elisa P. McEnroe
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                 Morgan, Lewis & Bockius, LLP
                                                                                                        1701 Market St.
                                                                                                    Philadelphia, PA 19103
                                                                                                                 Address

                                                                                              elisa.mcenroe@morganlewis.ccom
                                                                                                             E-mail address

                                                                                                           (215) 963-5917
                                                                                                           Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.


           Print                          Save As...                                                                                   Reset
  Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 31 of 33. PageID #: 371




Plaintiff                              MDL Civil Action No.
Town of Dedham, MA                     1:19-op-45039
Town of Athol, MA                      1:19-op-45058
Town of Rehoboth, MA                   1:19-op-45059
Town of Fairhaven, MA                  1:19-op-45060
Town of Norwood, MA                    1:19-op-45601
Town of Brookline, MA                  1:19-op-45062
Town of Scituate, MA                   1:19-op-45063
Town of Orange, MA                     1:19-op-45070
Town of Tewksbury, MA                  1:19-op-45077
              Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 32 of 33. PageID #: 372
02',),('
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Northern District of Ohio
 Town of Tewksbury, Massachusetts,
                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No.         1:19-op-45077
 Amerisourcebergen Drug Corporation, et al.                                  )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: __________________________________________
      JAMES C. PETERSON
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
        jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        7KH&RXUW VPRUDWRULXPRQDOOILOLQJVLQFOXGHVDPRUDWRULXPRQWKHILOLQJRIDQVZHUVRUPRWLRQVXQGHUXQGHU5XOH
        'HIHQGDQWVZLOOQRWDQVZHURUPRYHXQGHU5XOHXQOHVVVRRUGHUHGE\WKH&RXUW7KHIDLOXUHWRILOHDQDQVZHURU
        PRWLRQXQGHU5XOHZLOOQRWEHJURXQGVIRUDGHIDXOWMXGJPHQW

           03/24/2018                                                                      /s/ Tara A. Fumerton
Date:
                                                                                            Signature of the attorney or unrepresented party
:DOmDUW,QF and:DO0DUW6WRUHV(DVW/3                                                                Tara A. Fumerton
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                            Jones Day
                                                                                                         77 W. Wacker Dr.
                                                                                                         Chicago, IL 60601
                                                                                                                 Address

                                                                                                    tfumerton@jonesday.com
                                                                                                             E-mail address

                                                                                                           (312) 782-3939
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:19-op-45077-DAP Doc #: 9-1 Filed: 04/04/19 33 of 33. PageID #: 373
